Case 2:22-cv-00979-SB-KS Document 26-2 Filed 08/29/22 Page 1 of 2 Page ID #:199



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                          UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
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10                                              Case No. 2:22-CV-00979-SB-KS
     MOHAMED SUUFI and SAM KOCH,
11   individually and on behalf of all others
     similarly situated,                        [PROPOSED] ORDER GRANTING
12                                              EX PARTE APPLICATION FOR
13                                              EXTENSION OF PRE-TRIAL AND
                              Plaintiffs,       TRIAL DEADLINES PURSUANT TO
14                                              LOCAL RULE 7-19 AND FED R.
                                                CIV. P. 6(b)
15   v.

16   MEDIALAB.AI, INC.,
17
                              Defendant.
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           Having considered the ex parte application seeking to extend the deadlines in
21
     the case management order (“CMO”) and finding good cause to grant a continuance,
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     the Court grants the application and hereby modifies the CMO by adopting the
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     Proposed Dates (as may have been modified) in the table below.
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Case 2:22-cv-00979-SB-KS Document 26-2 Filed 08/29/22 Page 2 of 2 Page ID #:200



1                 Event                Prior Dates Current Dates       Proposed
                                                                         Dates
2    Trial                             None         06/12/2023       01/29/2024
3    Pretrial Conference               None         05/26/2023       01/12/2024
4    Motion to Amend Pleadings         None         08/19/2022       08/19/2022
5    Motion for Class Certification    None         09/16/2022       04/21/2023

6    Opposition to Motion for Class    None         09/30/2022       05/05/2023
     Certification
7    Reply Brief in Support of Class   None         10/07/2022       05/12/2023
     Certification
8
     Motion for Class Certification    None         10/28/2022       06/02/2023
9    Hearing
     Discovery Deadline – Nonexpert    None         01/20/2023       08/25/2023
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     Discovery Deadline – Expert       None         02/17/2023       09/22/2023
11   Initial Expert Disclosure         None         01/06/2023       08/11/2023
12   Rebuttal Expert Disclosure        None         01/20/2023       08/25/2023
     Discovery Motion Hearing          None         02/17/2023       09/22/2023
13   Deadline
     Non-Discovery Motion Hearing      None         03/03/2023       10/06/2023
14   Deadline
     Settlement Conference Deadline    None         03/17/2023       10/20/2023
15
     Post-Settlement Status            None         03/24/2023       10/27/2023
16   Conference Report
     Post-Settlement Status            None         03/31/2023       11/03/2023
17   Conference
     Trial Filings (1st Set)           None         04/28/2023       12/01/2023
18   Trial Filings (2nd Set)           None         05/12/2023       12/15/2023
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20     Dated:
21
22                                              Stanley Blumenfeld, Jr.
                                               United States District Judge
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